             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                       1:22 CV 65 MR WCM

KIM SHOOK, KYLIE SCOLARO-CONTI, )
 and JOHN SZWYD,                        )
                                        )
           Plaintiffs,                  )
                                        )
                                        )
v.                                      )                    ORDER
                                        )
NCG ACQUISITION, LLC d/b/a              )
APPALACHIAN COMMUNITY                   )
SERVICES and NCG CARE, INC.             )
a/k/a ncgCARE,                          )
                                        )
           Defendants.                  )
_________________________________ _____ )

      This matter is before the Court on the Motion for Admission Pro Hac

Vice and Affidavit (Doc. 47) filed by Alexander M. Gormley. The Motion

indicates that Mr. Gormley, a member in good standing of the Bar of this Court,

is local counsel for Defendants and that he seeks the admission of Matthew T.

Anderson, who the Motion represents as being a member in good standing of

the Bar of Virginia. It further appears that the requisite admission fee has

been paid, and that there is no opposition to the Motion.




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      Accordingly, the Court GRANTS the Motion (Doc. 47) and ADMITS

Matthew T. Anderson to practice pro hac vice before the Court in this matter

while associated with local counsel.

                            Signed: December 5, 2024




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